     Case 1:23-cr-00490-SHS            Document 387          Filed 05/10/24        Page 1 of 5




UNITED STATES DI TRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA
                                                                         23-cr-490 (SHS)
          V.
                                                                         OPINION & ORDER
    ROBERT MENENDEZ, NADINE MENENDEZ,
    WAELHANA, and FRED DAIBES,

                                     Defendants.



SIDNEY H. STEIN, U.S. District Judge
      On April 29, 2024, the Court held an in camera hearing pursuant to Section 6(a) of
the Classified Information Procedures Act (CIP<!'\) in order to "make all determinations
concerning the use, rel vance, or admissibility of classified information that would
otherwise be made during the trial or pretrial proceeding." 18 U.S.C. app. 3 § 6(a). The
Government was pre nt, along with cleared counsel for defendants Robert Menendez,
Wael Hana, and Fred Daibes.
    The Section 6(a) hearing centered on three of the five classified items raised by
defendants in their Section 5 submissions:
.    , the                                             and the Department of State
 Cable dated November 16, 2021.' For the reasons set forth below, the Court finds that
none of those three clas.;ified items may be presented at trial. Therefore, -
                                                   , and the Department of State Cable are each
excluded from evidence.
     I.        PROCEDURA HISTORY

   On April 10, 2024, cefendants Robert Menendez and Wael Hana notified the
Government and the Court in writing and under seal that they reasonably expected to
disclose classified information in connection with the trial of this action pursuant to
Section 5 of CIPA. (See ECF Nos. 303 and 304.) Defendants Nadine Menendez and Fred
Daibes joined those CIPA Section 5 notices. (See ECF Nos. 306 and 307.) Hana also

1At the Section 6(a) hearing, the parties represented that they were in the midst of negotiations to agree
upon stipulations for the other two classified items raised in defendants' Section 5 submissions-
Summary Substitution #2 and Summary Substitution 5. At the request of the parties, the Court will not
decide on the use, relevanc , and admissibility of Summary Substitution #2 and Summary Substitution /IS
at this time.
   Case 1:23-cr-00490-SHS          Document 387       Filed 05/10/24      Page 2 of 5



                                        -
joined in Robert Menendez's ClPA Section 5 notice. (See ECF o. 309.) Menendez
requested the disclosure of five items containing classified information: -
                (USAO_CLASSIFIED_000147-153), the
(USAO_CLASSIFIED_000154-155), Summary Substitution /i2, Summary Substitution #5,
and the Department of State Cable (USAO_CLASSIFIED_000043-47). Hana requested
the disclosure of three of those same items:                         , the
~            d the Department of State Cable.
     On April 19, 2024, the Government re ponded to defendants' Section 5 submissions
in writing and under eal pursuant to Section 6(a) of CIPA . (See ECF No. 343.) The
Government presented its position that the classified information defendants intended
to disclo e should not be so disclosed, and requested an in camera hearing concerning
the use, relevance, or admissibility of that classified information. That hearing was
initially s heduled to take place on April 23, 2024, but was adjourned to April 29, 2024.
     On April 24, 2024, defendan Robert Menendez, Hana, and Daibes filed a letter
brief in opposition to the Government' CIPA Section 6(a) motion und r eal. (See ECF
No. 352.) The Government replied to defendants' opposition brief under seal on April
26, 2024. (See ECF No. 358.) As already noted, this Court conducted a Section 6(a) in
camera hearing with coun 1for the Government and for Robert Menendez, Hana, and
Daibes on April 29, 2024, at which the Court made evidentiary determinations as to
three of the five items containing classified information.
   II.    LEG AL S TA DA.RD

    The purpose of the CIPA Section 6(a) classified, in camera hearing is for the Court to
"make all determinations concerning the use, relevance, or admissibility of classified
information that would otherwise be made during the trial or pretrial proceeding." 18
U.S.C. app. 3 § 6(a) .
    CIP A "does not alter the existing standards for determining relevan e or
admi sibility." Un ited State v. Wilson, 586 F. Supp. 1011, 1013 (S.D.N.Y. 19 3) (quoting
126 Cong. Rec. H9308 (daily ed. Sept. 22, 1980) (statement of Rep. Mazzoli)), affd, 750
F.2d 7 (2d Cir. 19 4). When making admissibility determinations pursuant to CIPA, the
Court disregards the fact that certain material is classified . Wilson, 586 F. Supp. at 1013.
Instead, the Court is to consider the use, relevance, and admissibility of the material
under the Federal Rules of Evidence. See United States v. Wilson, 750 F.2d 7, 9 (2d Cir.
19 4).
     As in all evidentiary questions, the Court first determines whether the information
at issue is relevant. Evidence is relevant if both "(a) it has any tendency to make a fact
more or less probable than it would be without the evidence; and (b) the fact is of
consequence in determining the action." Fed. R. Evid. 401 . Irrelevant evidence is not



                                         -
   Case 1:23-cr-00490-SHS        Document 387        Filed 05/10/24     Page 3 of 5




admissible, and relevant evidence is admissible unless an exception applies. See Fed. R.
Evid. 402.
     One such exception is Rule 403, which states that "[t]he court may exclude relevant
evidence if its probative value is substantially outweighed by a danger of one or more
of the following: unfair prejudice, confusing the issues, misleading the jury, undue
delay, wasting time, or ::1eedlessly presenting cumulative evidence." Fed R. Evid. 403.
     Another exception is when the evidence is hearsay pursuant to Rule 801. Hearsay
"means a statement tha:: (1) the declarant does not make while testifying at the current
trial or hearing; and (2) a party offers in evidence to prove the truth of the matter
asserted in the statement." Fed. R. Evid. 801(c). Hearsay is not admissible unless an
exception applies. See Fed. R. Evid. 802.
     One hearsay exception raised by defendants is Rule 803(3), which provides that "[a]
statement of the declarant's then-existing state of mind (such as motive, intent, or plan)"
is "not excluded by the rule against hearsay." Fed. R. Evid. 803(3). However, Rule 803(3)
does not apply to "a statement of memory or belief to prove the fact remembered or
believed unless it relates to the validity or terms of the declarant's will." Id.
    Rule 806 is another hearsay exception raised by defendants. Ru le 806 states that
"[w]hen a hearsay statement-or a statement described in Rule 801(d)(2)(C), (0), or
(E)-has been admitted in evidence, the declarant's credibility may be attacked, and
then supported, by any evidence that would be admissible for those purposes if the
declarant had testified as a witness." Fed. R. Evid. 806. Thus, "[t]he court may admit
evidence of the declarant's inconsistent statement or conduct, regardless of when it
occurred or whether the declarant had an opportunity to explain or deny it." Id.
    A final hearsay exception invoked by defendants is the admissibility of foreign
documents as set forth in 18 U.S.C. §§ 3491 and 3505. Section 3491 states that a
document "which is not in the United States shall, when duly certified as provided in
section 3494 of this title, be admissible in evidence in any criminal action or proceeding
in any court of the United States" so long as the document "satisfies the authentication
requirements of the Federal Rules of Evidence." 18 U.S.C. § 3491. Section 3505 states
that "a foreign record of regularly conducted activity" shall not "be excluded as
evidence by the hearsay rule" as long as four conditions pertain, including that the
record was made "at or near the time of the occurrence of the matters set forth" in the
record, that the record "was kept in the course of a regularly conducted business
activity," and that "the business activity made such a record as a regular practice." 18
u.s.c. § 3505.
  Case 1:23-cr-00490-SHS         Document 387       Filed 05/10/24     Page 4 of 5




   Ill.   DISCUSSION

    The Court set forth on the record at the in camera Section 6(a) hearing of April 29,
2024, its rulings on the admissibility of the                      ·, the
-           and the Department of State Cable. (See Sealed Transcript of Section 6(a)
Hearing at 7:16-8:5, 12:13-12:24, 17:15-18:4, 19:9-19:11.) Consistent with the requirements
of CIPA Section 6(a), the Court now issues a written order "set[ting] forth in writing the
basis for its determination." 18 U.S.C. app. 3 § 6(a).


    The                         is excluded pursuant to Rule 403. First, it has very low
probative value. It is an after-the-fact justifica tion by
                     and lacks indicia of reliability. Second, that very low probative
value is substantially outweighed by the dangers of confusing the issues, misleading the
jury, and wasting time.
    The                       is also excluded because it is inadmissible hearsay. It is an
out-of-court statement offered to prove the truth of the matter asserted therein to which
no hearsay exception applies.
    Rule 803(3) does not apply because, to the extent that the
presents a declarant's intent, it does so by way of a "statement of memory or belief."
Such statements fall beyond the Rule 803(3) carve-out and are inadmissible hearsay.
     Rule 806 does not apply because the Government has represented that it does not
intend to introduce into evidence any hearsay statement or statement described in Rule
801(d)(2)(C), (D), or (E) made by                  . There is therefore no basis on which
to attack ■ credibility under Rule 806.
    Finally, the                      does not come into evidence as a foreign document
pursuant to 18 U.S.C. § 3491 because the document is presently in the Uni ted States,
contrary to the statutory provision that the document must be outside of the United
States, and has not been duly certified as required by the statute. 18 U.S.C. § 3505 is
inapplicable because it contemplates "regularly conducted activity," which is not a
descriptor assignable to


    The                          has extremely low probative value: it does not state
that the meetings were at the request of                      :, says nothing about the
content of the meetings, and there is no indication as to who drafted the document. That
low probative value is substantially outweighed by the dangers of unfair prejudice,
confusing the issues, undue delay, and wasting time. These dangers are especially acute
here, as introducing the                          into evidence would require the
  Case 1:23-cr-00490-SHS         Document 387       Filed 05/10/24         Page 5 of 5




Government to introduce additional evidence contextualizing the -
                                                                             The 1111
                   is excluded from evidence pursuant to Rule 403.
    C. The Department of State Cable
    The Department of State Cable is excluded from evidence pursuant to Rule 403. If it
is relevant at all, it is of extremely low probative value and that low probative value is
substantially outweighed by the dangers of unfair prejudice, confusing the issues,
undue delay, and wasting time.
   IV.    Conclusion
    For the reasons set forth above, the Court has determined that the three classified
documents considered at the in camera Section 6(a) hearing of April 29, 2024-the llll
               ·, the                       , and the Department of State Cable-are
inadmissible pursuant to the Federal Rules of Evidence and are therefore excluded from
the trial.
   The relevant agencies are directed to complete their classification review of this
Opinion & Order within five days. This Opinion & Order will be considered
presumptively classified until such review is complete. A public Opinion & Order will
be published with necessary redactions upon completion of the classification review.
Dated: New York, New York
       May 2, 2024



                                           Jj
                                          SO ORDERED:
                                                      I
                                            d'J:az / _,,
                                                               ( 1
                                                                I      •

                                           Sidney J. Stein, U.S.D.J.
